            Case 3:20-cv-06406-MMC           Document 6   Filed 11/02/20   Page 1 of 2




 1   BRODSKY & SMITH, LLC
     Evan J. Smith, Esquire (SBN 242352)
 2   esmith@brodskysmith.com
     Ryan P. Cardona, Esquire (SBN 302113)
 3   rcardona@brodskysmith.com
     9595 Wilshire Boulevard, Suite 900
 4   Beverly Hills, CA 90212
     Phone: (877) 534-2590
 5   Facsimile: (310) 247-0160
 6   Attorneys for Plaintiff
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10    AMIT RAHEJA, individually and on behalf of
      all others similarly situated,                  Case No.: 3:20-cv-06406-MMC
11
                               Plaintiff,
12
                     v.                               NOTICE OF VOLUNTARY DISMISSAL
13                                                    PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
      LIVONGO HEALTH, INC., GLEN
14    TULLMAN, ZANE BURKE, CHRIS
      BISCHOFF, KAREN L. DANIEL, SANDRA
15    FENWICK, PHILIP D. GREEN, HEMANT
      TANEJA, TELADOC HOLDINGS INC., and
16    TEMPRANILLO MERGER SUB, INC.,
17                             Defendants.
18
19

20

21

22

23

24

25

26
27

28

                                     -1-
          NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
            Case 3:20-cv-06406-MMC            Document 6       Filed 11/02/20      Page 2 of 2




 1          Notice is hereby given that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

 2 Procedure, plaintiff Amit Raheja (“Plaintiff”) voluntarily dismisses this action without prejudice

 3 as to both the Plaintiff’s individual claims and the claims of the putative class. This notice of

 4 dismissal is being filed before service by Defendants of either an answer or a motion for summary

 5 judgment. Since no class has been certified and the dismissal is without prejudice as to the

 6 members of the putative class, notice of this dismissal is not required. Plaintiff’s dismissal of this

 7 Action is effective upon filing of this notice.

 8

 9   Dated: November 2, 2020                            BRODSKY & SMITH, LLC

10                                                By: /s/ Evan J. Smith
                                                      Evan J. Smith, Esquire (SBN 242352)
11
                                                      esmith@brodskysmith.com
12                                                    Ryan P. Cardona, Esquire (SBN 302113)
                                                      rcardona@brodskysmith.com
13                                                    9595 Wilshire Blvd., Ste. 900
                                                      Phone: (877) 534-2590
14                                                    Facsimile (310) 247-0160
15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                      -2-
           NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
